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               EXHIBIT 1
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                 Handbook
                   for
                Guideline
               Development
                            2nd edition
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  3. Contributors and their role in
  guideline development
  When developing WHO guidelines, four groups need to be established
  (Table 3.1):
  ■ the steering group;
  ■ the GDG;
  ■ the external review group; and
  ■ the systematic review team.

      These groups have different skills, perspectives, roles, responsibilities
  and tasks. They are established at different times, but all work to produce a
  high-quality guideline.


  3.1 The steering group
  Once the technical unit has decided to proceed with developing a guideline,
  the steering group should be formulated, led by the responsible technical
  officer. The steering group includes members from all WHO departments
  and regional offices whose work deals directly with the topic of the guideline.
  It is wise, however, to limit the group to fewer than 8 or 10 members to maxi-
  mize efficiency, although some guidelines require a larger steering group to
  encompass representatives from all relevant departments and regions.
        Steering group members must be prepared to allocate a lot of time to this
  work: senior WHO staff who cannot do so should not be listed as members.
  Instead, they should be consulted as appropriate during the development
  process. If the guideline is being developed jointly with another organiza-
  tion, individuals from that organization will also be members of the steering
  group. Otherwise, the steering group is composed exclusively of WHO staff
  from headquarters and the regional offices.
        The role of the steering group is to:
  ■ provide administrative support for guideline development;
  ■ draft the scope of the guideline and key questions in PICO format (see
        Chapters 2 and 7);
  ■ identify the systematic review team and guideline methodologist(s);
  ■ develop and finalize the planning proposal for submission to the GRC
        (see Chapter 4);

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  ■    oversee evidence retrieval, assessment and synthesis;
  ■    select members of the GDG and the external review group;
  ■    collect and assess disclosures of interest and manage conflicts in col-
       laboration with the director of the technical unit and in consultation
       with the Office of Compliance, Risk Management and Ethics (CRE), as
       needed (see Chapter 6);
  ■    organize GDG meetings;
  ■    draft recommendations based on the decisions of the GDG;
  ■    draft the final guideline, in collaboration with the technical writer;
  ■    oversee peer review, review comments and revise the draft guideline
       as appropriate;
  ■    submit the final guideline to the GRC and revise as indicated to meet
       GRC requirements;
  ■    oversee publication and dissemination of the guideline; and
  ■    monitor new information, user needs and requests that inform when
       an update may be needed.

      The responsible technical officer is responsible for the efficient and
  effective function of this group and for liaising and consulting with depart-
  ments and experts internal to WHO, and with the chair and members of
  the GDG as needed.


  3.2 The guideline development group
  The GDG is made up of external experts whose central task is to develop evi-
  dence-based recommendations. The GDG also performs the important task
  of finalizing the scope and key questions of the guideline in PICO format.
  This group should be established early in the guideline development process,
  once the steering group has defined the guideline’s general scope and target
  audience and begun drafting the key questions.
       Potential members of the GDG are identified by the steering group and
  are selected to encompass the technical skills, diverse perspectives and geo-
  graphic representation needed. The group should be small enough for effec-
  tive group interaction and decision-making, but large enough to ensure that
  all relevant expertise and perspectives are represented. A group of 10 to 20 is
  usually feasible and effective, although some GDGs are larger if the scope of
  the guideline is broad. The group can hold online or teleconference meetings
  but will usually need to have at least one face-to-face meeting to formulate
  the recommendations based on the systematic reviews of the evidence and
  other information (see Chapter 10).

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                 Chapter 3   Contributors and their role in guideline development



       The members of the GDG are not commissioned and do not receive any
  financial compensation other than for direct expenses associated with their
  work on the guideline. The responsible technical officer may develop terms
  of reference so potential GDG members clearly understand their roles and
  responsibilities before committing themselves. Members of the GDG par-
  ticipate in the guideline development process and at meetings as individuals
  and not as representatives of the institutions or organizations with which
  they are affiliated.
       The role of the GDG is to:
  ■ provide input into the scope of the guideline;
  ■ assist the steering group in developing the key questions in PICO format;
  ■ choose and rank priority outcomes that will guide the evidence
       reviews and focus the recommendations;
  ■ examine the Grading of Recommendations Assessment, Devel-
       opment and Evaluation (GRADE) evidence profiles or other
       assessments of the quality of the evidence used to inform the recom-
       mendations and provide input;
  ■ interpret the evidence, with explicit consideration of the overall bal-
       ance of benefits and harms;
  ■ formulate recommendations taking into account benefits, harms,
       values and preferences, feasibility, equity, acceptability, resource
       requirements and other factors, as appropriate; and
  ■ review and approve the final guideline document before submission to
       the GRC.


  3.2.1 Composition of the guideline development group
  The GDG is multidisciplinary and composed of individuals from all WHO
  regions likely to use the guideline, except for employees of WHO or other
  United Nations organizations. Its membership should be balanced in terms
  of gender and geography. Possible conflict of interest is also an important
  consideration when selecting and confirming GDG members (see Chap-
  ter 6). There are several ways to identify, nominate and select members of
  the GDG. In addition to drawing members from established technical net-
  works and WHO collaborating centres, consider publishing an open call for
  nominees. The aim is to have a diverse group that includes:
  ■ relevant technical experts;
  ■ end-users, such as programme managers and health professionals, who
      will adopt, adapt, and implement the guideline;


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  ■    representatives of groups most affected by the recommendations in the
       guideline, such as service users and representatives of disadvantaged
       groups;
  ■    experts in assessing evidence and developing guidelines informed by
       evidence; and
  ■    other technical experts as required (e.g. a health economist or an
       expert on equity, human rights and gender).

  3.2.1.1 The chair of the guideline development group
  The selection of the chair of the GDG is a key decision. The steering group
  usually selects the chair, but the choice should generally be agreed upon by
  members of the GDG. The chair should be an expert in facilitating groups
  that reach decisions based on consensus; be experienced at critically apprais-
  ing and interpreting evidence and developing evidence-informed recom-
  mendations; and have no financial interests related to the guideline’s topic.
  Although the chair should have a general knowledge of the topic of the guide-
  line, no one with strong views about the interventions under consideration
  should chair the GDG. The chair should have experience engaging in con-
  sensus-based processes involving people with different opinions. The chair
  can be a guideline methodologist with expertise in evidence synthesis and
  in formulating recommendations based on evidence. A vice-chair should
  also be identified by the steering group to stand in if the chair is absent and
  to share in the chair’s tasks and responsibilities. The expertise of the chair
  and vice-chair should be complementary, especially with regard to expertise
  in the content area versus guideline development methods or implementa-
  tion. Complementary skills and perspectives will also help to balance the
  influence of a chair who is a content expert and has opinions on specific
  recommendations. Another acceptable option is to have two co-chairs with
  equal responsibilities and complementary expertise and perspectives. For
  instance, one co-chair might be a guideline methodologist and the other an
  expert on the subject at hand.

  3.2.1.2 Technical experts
  Individuals selected for their technical expertise in a guideline’s subject
  area are critically important to GDGs but should not dominate the group.
  A balanced group includes a range of expertise and institutional and pro-
  fessional affiliations.

  3.2.1.3 End-users of the guideline
  People with direct experience in managing the condition or problem addressed
  by the guideline and who will have a role in implementing the new recom-

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  mendations − members of governmental and nongovernmental organiza-
  tions, programme managers, health-care workers and other end-users of the
  guideline − should participate in the GDG. For example, palliative care nurses
  would participate in developing a guideline about pain management; hospital
  administrators would help to develop a guideline on infection prevention and
  control in health-care settings. The aim is to ensure that the final guideline
  document is useful to its end-users and readily understood by them.

  3.2.1.4 Representatives of the people aﬀected by the recommendations
  Individuals who are likely to be affected by the intervention(s) or approach(es)
  under consideration in the guideline − or their representatives − bring inval-
  uable perspectives to the guideline development process. They can help to
  ensure that the guideline reflects the needs of its intended beneficiaries and
  can be effectively implemented, and they can assist the GDG in understand-
  ing the impact of the recommendations in real life. For example, guidelines
  on the management of diabetes would benefit from input by people with
  diabetes; similarly, guidelines on human resources for health would benefit
  from input by labour union representatives. Although finding such indi-
  viduals with the necessary background is not easy when developing global
  guidelines, an increasing number of groups are operating at the international
  level. Many countries have nongovernmental organizations whose members
  may be able to participate in the GDG in an individual capacity, or attend
  meetings as observers on behalf of their organization (see Section 3.5.3).
      Involving service users in groups developing guidelines helps to ensure
  that:
  ■ the questions addressed are relevant to service users;
  ■ important aspects of the experience of illness are considered;
  ■ critical outcomes are identified and prioritized; and
  ■ the balance of benefits and harms of the intervention is appropriately
      considered when recommendations are formulated.

      Certain barriers can stand in the way of service user participation in
  guideline development. They include:
  ■ the lack of organized service-user groups, which makes it difficult to
      identify individuals able to participate in GDGs;
  ■ the fact that an individual cannot represent the varied perspectives
      and experiences of all persons affected by a disease or condition; and
  ■ the complex scientific terminology used by guideline developers and
      topic experts.




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      Experiences from organizations such as the United Kingdom’s National
  Institute for Health and Care Excellence (NICE) suggest that service users
  make critical contributions to guideline development when provided with
  training and support (2, 3).

  3.2.1.5 Experts in guideline development
  Ideally, at least one of the technical experts in the GDG should also have exper-
  tise in the processes and methods for developing evidence-based guidelines.

  3.2.1.6 An economist
  An economist can be an important contributor to a GDG if resource-related
  issues are at play in the formulation of recommendations. This GDG member
  can advise on matters of economic efficiency, such as cost–effectiveness, and
  on any other resource implications of the interventions under consideration.
  The economist can also advise on how to search for and interpret relevant
  economic data and the evidence on resource use. If modelling of economic
  data is used to inform one or more recommendations, it is essential that the
  GDG include one or more individuals with expertise in economic modelling
  or that an expert is commissioned to attend the GDG meeting.

  3.2.1.7 An expert on equity, human rights and gender
  Depending on the topic of the guideline, a GDG member with expertise in
  matters of equity, gender and human rights can contribute to the analysis and
  interpretation of evidence and determine how the intervention might affect cer-
  tain subpopulations. For example, they could bring insights into how women
  and men − in all of their diversity and across the life-course, subject to differ-
  ent gender norms, and belonging to different income and education groups −
  could be affected differently by the recommendations in the guideline.


  3.3 The external review group
  The external review group is composed of persons interested in the subject of
  the guideline as well as individuals who will be affected by the recommenda-
  tions (often referred to as “stakeholders”). Thus, the external review group
  may include technical experts, end-users, programme managers, advocacy
  groups and individuals affected by the condition addressed in the guideline,
  among other stakeholders. This group is generally established by the steer-
  ing group after the GDG is identified and once the guideline’s scope and




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  key questions have been drafted. Methods for recruitment vary. The steer-
  ing group and GDG can suggest names or issue an open call for interested
  persons and organizations. Like the GDG, the external review group should
  be balanced in terms of geography and gender and should provide diverse
  perspectives. If important perspectives and stakeholders are missing from
  the GDG, these should be represented in the external review group.
       Members of the external review group can be asked to participate in dif-
  ferent stages of the guideline development process, depending on the nature
  of the topic and the needs of the steering group. The external review group
  may review the guideline’s scope and key questions (in PICO format) in
  the early stages of the guideline development process, and the final guide-
  line document at the end. When the external review group reviews the final
  guideline, its role is to identify any errors or missing data and to comment
  on clarity, setting-specific issues, and implications for implementation – not
  to change the recommendations formulated by the GDG. If external review
  group members have major concerns regarding one or more recommenda-
  tions, the GDG should meet to discuss and address them. Review of the final
  guideline by the external review group is often referred to as peer review.


  3.4 The systematic review team
  Systematic reviews of the evidence are the basis for most types of recommen-
  dations (see Chapter 8). Because WHO staff usually lack the time to perform
  these reviews, they normally commission them from external contractors.
  These contractors should be identified very early in the guideline develop-
  ment process because they have expertise in the development of key ques-
  tions and can help the steering group to establish a reasonable scope that
  conforms to the available budget and timeline.
       Systematic reviews can be commissioned from any group with the nec-
  essary expertise and no financial conflicts of interest. The Cochrane Collab-
  oration (4) and the Campbell Collaboration (5) have editorial teams whose
  expertise covers a broad range of topics relevant to WHO guidelines. These
  teams may be interested in updating an existing review or in performing a
  review de novo. They can be located via their organizational websites, or the
  GRC Secretariat can help to identify the appropriate contact person. System-
  atic review teams that are interested in working with WHO are listed on the
  GRC intranet site (6).




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     Table 3.1.         Contributors and their role in guideline development
      Name           Primary               Main            When is the group             How is           Leader(s)          Essential               Other            Number        Require
                 responsibilities        functions           established?              the group                             expertise           characteristics        of           DOI?
                                                                                      established?                                                                    members
      Steering   Oversee the guide-   Administration;      At the ﬁrst step, as      The WHO techni-     Responsible   Administration;           Members include      4–10         As dictated
      group      line development     draft the scope;     soon as a decision is     cal unit that       technical     technical expertise in    representa-                       by WHO
                 process              identify members     made to develop a         initiated the       oﬃcer         the guideline topic;      tives from all                    rules and
                                      of the GDG and       guideline                 guideline identi-                 systematic review and     relevant WHO                      regula-
                                      external review                                ﬁes members                       guideline methods         technical units at                tions (1)
                                      group; oversee                                                                                             headquarters and
                                      conduct of the                                                                                             in the regional
                                      systematic review;                                                                                         oﬃces
                                      draft the ﬁnal
                                      guideline
      Guide-     Formulate recom-     Provide input        Once the steering         Selected by the     Chair and     Technical expertise;      Gender balanced      10–20,       Yes
      line       mendations; the      into the scope       group has drafted the     steering group      perhaps a     needs of the end-users;   and broad            occasion-
      devel-     general scope and    and key (PICO)       scope and a ﬁrst draft                        co-chair or   programme managers;       geographic repre-    ally more
      opment     content of the       questions; attend    of the key questions in                       vice-chair    personal experience       sentation from all
      group      guideline            GDG meeting(s);      PICO format                                                 with the condition or     WHO regions
                                      formulate recom-                                                                 will be aﬀected by the
                                      mendations;                                                                      recommendations;
                                      critically review                                                                methods for develop-
                                      the ﬁnal guideline                                                               ing evidence-based
                                      document                                                                         guidelines
      External   Provide diverse      Peer review of       Once the scope, key       Selected by the     None          As for the GDG            As for the GDG;      5–20,        Yes for
      review     and real-world       the draft ﬁnal       questions and the GDG     steering group                                              can complement       depending    individuals,
      group      perspectives         guideline; may       have been established     with input from                                             any missing          on their     no for peer
                                      provide input into                             the GDG                                                     diversity or per-    role and     reviewers
                                      the scope and key                                                                                          spectives in the     the guide-   represent-
                                      questions                                                                                                  GDG                  line topic   ing their
                                                                                                                                                                                   organization
                                                                                                                                                                                                  Case 2:22-cv-00184-LCB-CWB Document 671-1 Filed 08/12/24 Page 10 of 18




                                                                                                                                                                             continues ...
     ... continued
      Name          Primary                 Main             When is the group           How is         Leader(s)          Essential              Other            Number        Require
                responsibilities          functions            established?            the group                           expertise          characteristics        of           DOI?
                                                                                      established?                                                                 members
      Sys-      Provide a             Provide input into     Once the steering       Selected by the   Team leader   Systematic review        Experience           2–6 or       Yes
      tematic   comprehensive,        the key questions;     group has drafted       steering group                  methods; the GRADE       developing           more
      review    objective synthesis   perform systematic     the scope and the key                                   approach to guideline    high-quality sys-    depend-
      team      of the evidence       reviews of the         questions                                               development              tematic reviews      ing on the
                                                                                                                                                                                           Chapter 3




                to inform each        evidence; assess                                                                                        on public health     scope
                recommendation        the quality of the                                                                                      topics; ability to
                                      body of evidence                                                                                        understand the
                                      and develop GRADE                                                                                       guideline topic
                                      evidence proﬁles                                                                                        area
      Guide-    Oversee the process   Review GRADE           Once the steering       Selected by the   None          Development of recom-    Speciﬁc topic        One          Yes
      line      of developing         evidence proﬁles       group has drafted       steering group                  mendations based on      expertise may be
      method-   recommendations       developed by the       the scope and the key                                   evidence; systematic     helpful but is not
      ologist   based on evidence     systematic review      questions                                               review methods;          essential; ability
                                      team; attend the                                                               GRADE                    to understand the
                                      GDG meeting and                                                                                         guideline topic
                                      assist the group                                                                                        area
                                      in developing
                                      recommendations
                                      using the GRADE
                                      framework
      Observ- Observe                 Ensure the trans-      When the GDG meet-      Selected by the   None          Various related to the   Variable             Variable     No
      ers at                          parency of the         ing is being planned    steering group                  guideline topic
      the GDG                         processes; engage                              with input from
      meeting                         partners; facilitate                           the GDG
                                      implementation
                                                                                                                                                                                           Contributors and their role in guideline development




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                                                                                                                                                                          continues ...
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     ... continued
       Name           Primary                 Main            When is the group            How is            Leader(s)             Essential              Other           Number         Require
                  responsibilities          functions           established?             the group                                 expertise          characteristics       of            DOI?
                                                                                        established?                                                                      members
       Funder     None with respect      Provide funding     After the techni-         Identiﬁed by the    None             None                      WHO does not        One or        No (it must
                  to process of devel-                       cal unit decides to       steering group                                                 accept any com-     more          be deter-
                  opment or content                          proceed with guideline                                                                   mercial support     depend-       mined that
                  of the guideline                           development                                                                              for guideline       ing on the    they do not
                                                                                                                                                      development         scope         receive any
                                                                                                                                                                                        funds from
                                                                                                                                                                                        commercial
                                                                                                                                                                                        entities)

     DOI: declaration of interests; GDG: guideline development group; GRADE: Grading of Recommendations Assessment, Development and Evaluation; PICO: population, intervention, comparator and
     outcome.
                                                                                                                                                                                                      Case 2:22-cv-00184-LCB-CWB Document 671-1 Filed 08/12/24 Page 12 of 18
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   3.5 Other individuals and groups involved in guideline
   development

   3.5.1 The guideline methodologist
   At least one methodologist – an expert in guideline development processes
   and methods − should be involved in the development of WHO guidelines.
   The methodologist complements the technical expertise of the subject matter
   experts, programme managers and other members of the GDG. The guideline
   methodologist is an expert in systematic reviews, GRADE, and the translation
   of evidence into recommendations. They generally have experience formulat-
   ing public health recommendations. Methodologists should be identified early
   in the guideline process so that they can participate in planning, scoping and
   the development of key questions. The methodologist also plays a critical role in
   GDG meetings by helping the GDG to formulate recommendations informed
   by the evidence in a transparent and explicit manner (see Chapter 10).


   3.5.2 Consultants with additional technical expertise
   Additional commissioned experts are sometimes involved in the develop-
   ment of a guideline. These individuals have expertise in other essential areas,
   such as decision analysis (modelling), economics or epidemiology. They
   may play a variety of roles in the guideline development process and may be
   invited to attend and present at GDG meetings. They do not contribute to the
   formulation of recommendations, however, unless they are official members
   of the GDG, in which case they would not have a contract with WHO (see
   Section 3.2).


   3.5.3 Observers at the meeting of the guideline development
   group
   Stakeholders such as nongovernmental organizations, advocacy groups,
   funders, target audiences, and service-users may be invited to send a member
   or representative to GDG meetings. Their role is to observe, although the
   meeting chair may ask them for information or an opinion. They do not
   participate in the formulation of recommendations.




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   3.5.4 Designated writer/editor
   To ensure coherence, clarity and accuracy, one person should be respon-
   sible for drafting the guideline, incorporating comments from the GDG
   and peer review, and finalizing the document before publication. A clearly
   written guideline and a well-documented process are critical to the final
   clearance and usability of the guideline, so the writer needs to be involved
   in the planning and development stages, attend GDG meetings, and work
   closely with the steering group and the GDG chair. The writer, who may be
   a WHO staff member or can be commissioned, must be familiar with the
   WHO style guide (7) and should consult with the equity, human rights and
   gender experts at WHO if they have questions about how persons should be
   referred to and presented in the guideline.


   3.6 Funders of the guideline
   The funder(s) of a guideline can play no role in the guideline development
   process and should not influence the recommendations. Private funders,
   including industry or foundations, may wish to observe GDG meetings, but
   they must not contribute in any way to the systematic review and evidence
   appraisal process and, most particularly, to the formulation of recommen-
   dations. Governmental and intergovernmental agencies (e.g. the Centers
   for Disease Control and Prevention [United States of America] or the Joint
   United Nations Programme on HIV/AIDS [UNAIDS]) may fund and/or
   partner in guideline development. Employees of such funders or partners
   cannot be members of the GDG but should be included in the steering group.
   An employee of a governmental or United Nations organization who pro-
   vides specified voluntary funding to support development of the guideline
   should not be a member of the GDG. However, if the membership of such a
   person is considered essential in light of the expertise required within the
   GDG, then this dual relationship must be identified as a conflict of interest
   and managed accordingly.


   3.7 Identifying and managing conﬂicts of interest
   Chapter 6 and the website of the Office of Compliance, Risk Management and
   Ethics (8) explain the steps followed to identify, manage and report conflicts
   of interest involving GDG members and commissioned experts. Declara-


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   tions of interests (DOI) are collected and reviewed before making appoint-
   ments to the GDG. Any subsequent changes in GDG members’ declaration
   of interests must be reported to the steering group. Potential candidates for
   membership who have major conflicts of interest, be they financial or non-
   financial, cannot be appointed to the GDG. Minor conflicts of interest can
   be managed at the individual level (e.g. by restricting participation in parts
   of the GDG meeting) or at the group level (e.g. by balancing GDG members’
   perspectives and experiences). See Chapter 6 for details.


   3.8 Managing an eﬀective guideline development
   group meeting
   Along with the GDG chair, the steering group is responsible for seeing to it
   that the GDG works effectively and efficiently to develop recommendations
   that meet WHO standards.


   3.8.1 The role of the chair and vice-chair
   During meetings, the chair must ensure that GDG members can present their
   viewpoints and that all relevant issues are discussed in a respectful and efficient
   manner. In addition, the chair should keep the group focused on the agenda;
   reflect on and summarize the opinions of GDG members; raise issues that
   could inform the decision process; and manage the group so as to achieve con-
   sensus. The chair and vice-chair should not impose their own opinions on the
   group, however they may put forth their views in a purely personal capacity.


   3.8.2 Decision-making in the guideline development group
   The steering group must formulate a plan delineating how decisions will
   be made by the GDG. This plan must be formulated and agreed upon by
   the group’s chair and vice-chair before the first GDG meeting. It should
   be presented to GDG members at the beginning of this first meeting, with
   the opportunity for questions and discussion. GDGs sponsored by WHO
   should generally make their recommendations through consensus, which
   can be achieved by various means. Acceptable approaches for group deci-
   sion-making must be defined and made explicit before any recommenda-




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   tions are formulated, and a plan as to how to proceed if consensus cannot
   be achieved must also be in place. Such decisions cannot be made when the
   GDG encounters serious internal dissention (6).


   3.9 Planning an eﬀective meeting
   Most guidelines involve at least one face-to-face meeting of the GDG to for-
   mulate recommendations. Some groups hold an initial meeting to finalize a
   guideline’s scope and key questions (see Chapter 7). GDG meetings generally
   cover a lot of material and in them a number of important decisions are made
   within a short time. The steering group must ensure that all in attendance
   understand their role and the expected outputs of the meeting by providing
   GDG members with clear information about how the meeting will be run
   and about the tasks and roles of those present.


   3.9.1 Goals of the meeting
   The steering group should consider the following questions when planning
   a meeting of the GDG:
   ■ What is the purpose of the meeting?
   ■ What are the specific objectives for the meeting?
   ■ What decisions do not require deliberation by the GDG (and can
       therefore be made by the steering group)?
   ■ What specific decisions and outputs are expected from the
       meeting?


   3.9.2 Preparing for the meeting
   ■    How are meeting participants expected to prepare before the meeting?
   ■    What materials need to be sent to GDG members ahead of time and
        when should they be sent to allow adequate time for review?
   ■    Have all DOI forms been collected and assessed and have appropriate
        management plans been agreed upon with the director of the responsi-
        ble technical officer’s technical unit?




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                  Chapter 3   Contributors and their role in guideline development



   3.9.3 Roles and process at the meeting
   ■   What roles are played by the steering group, GDG members, the meth-
       odologist, the systematic review team’s representative and observers?
   ■   How will declarations of interest and conflicts of interest be presented?
       What will be the level of detail? How will new disclosures be assessed
       and managed at the GDG meeting?

   If the purpose of the GDG meeting is to finalize the scope and the key ques-
   tions for guideline development:
   ■ Who will draft the scope and key questions and how will these ques-
        tions be identified?
   ■ Will GDG members have the opportunity to review the questions
        before the meeting?

       If the purpose of the meeting is to develop recommendations:
   ■   Will a summary of the evidence be presented? If so, by whom and in
       what format?
   ■   Will the GRADE evidence profiles (summaries of the quality of the evi-
       dence for each outcome, see Chapter 9), be finalized before the meeting,
       or will a draft be discussed and revisions made during the meeting?
   ■   Will the steering group draft recommendations before the GDG meet-
       ing? How detailed or explicit will those draft recommendations be?
   ■   What process will the GDG follow to finalize its recommendations?
   ■   Will a standardized template be used to translate evidence into recom-
       mendations (see Chapter 10)? If so, will these be partially completed
       before the GDG meeting. If so, by whom?
   ■   Who will record the meeting deliberations? Will a meeting report
       be prepared, separate from the guideline document? (If the meeting
       report contains recommendations, it must be submitted to the GRC
       with the final guideline document, and the report cannot be publicly
       released before GRC approval.)


   3.9.4 Follow-up after the meeting
   ■   What follow-up will take place with meeting participants?
   ■   If recommendations are not finalized at the GDG meeting, how will
       they be finalized after the meeting?




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   3.10 References
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